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 Fill in this information to identify your case:

 Debtor 1
                     Marshall Scott Stander
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Central District of California District of __________
                                                                                                (State)
 Case number           1:19-bk-13099-MT
                     ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 0.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 7,515.00
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 7,515.00
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 0.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 547,401.31
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 547,401.31
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 1,100.00
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 1,080.00
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
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                  Marshall Scott Stander
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                                                                                                                          1:19-bk-13099-MT
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
    ✔


           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                               0.00
                                                                                                            $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                            $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                               0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                                         0.00
                                                                                                            $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
Fill in this Case   1:19-bk-13099-MT
             information to identify your case and Doc     10
                                                   this filing:   Filed 12/27/19 Entered 12/27/19 09:13:49                                   Desc
                                                           Main Document     Page 4 of 57
Debtor 1
                   Marshall Scott Stander
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        ______________________
United States Bankruptcy Court for the: Central District of California District of __________
                                                                                    (State)
Case number           1:19-bk-13099-MT
                    ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Sche dule A/B: Prope r t y                                                                                                                              12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Pa rt 1 :      De sc ribe Ea c h Re side nc e , Building, La nd, or Othe r Re a l Est a t e You Ow n or H a ve a n I nt e re st I n
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    
    ✔    No. Go to Part 2.
        Yes. Where is the property?                             What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                     Single-family home                           the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property:
      1.1. _________________________________________
           Street address, if available, or other description
                                                                     Duplex or multi-unit building
                                                                     Condominium or cooperative                   Current value of the Current value of the
                                                                     Manufactured or mobile home                  entire property?     portion you own?
             _________________________________________
                                                                     Land                                         $________________ $_________________
                                                                     Investment property
                                                                                                                   Describe the nature of your ownership
             _________________________________________
             City                    State   ZIP Code
                                                                     Timeshare                                    interest (such as fee simple, tenancy by
                                                                     Other __________________________________     the entireties, or a life estate), if known.

                                                                 Who has an interest in the property? Check one.   __________________________________________

                                                                  Debtor 1 only                                    Check if this is community property
             _________________________________________
             County                                               Debtor 2 only
                                                                  Debtor 1 and Debtor 2 only
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




    If you own or have more than one, list here:                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                    Duplex or multi-unit building
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                    Land                                          $________________        $_________________
                                                                    Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                    Timeshare                                     Describe the nature of your ownership
                                                                    Other __________________________________      interest (such as fee simple, tenancy by
                                                                                                                   the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.
                                                                                                                   __________________________________________
                                                                 Debtor 1 only
             ________________________________________
             County                                              Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                 At least one of the debtors and another             (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number:




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1.____                                                           What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put

            ________________________________________
                                                                    Single-family home                                   the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
            Street address, if available, or other description      Duplex or multi-unit building
                                                                    Condominium or cooperative                           Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
            ________________________________________                Manufactured or mobile home
                                                                    Land                                                 $________________         $_________________

            ________________________________________
                                                                    Investment property
            City                    State   ZIP Code                Timeshare
                                                                                                                          Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                    Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                 Who has an interest in the property? Check one.
            ________________________________________              Debtor 1 only
            County
                                                                  Debtor 2 only
                                                                  Debtor 1 and Debtor 2 only                              Check if this is community property
                                                                                                                              (see instructions)
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  0.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 


Pa rt 2 :      De sc ribe Y our V e hic le s


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   
   ✔     No
        Yes

            Make: ____________________________                   Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
    3.1.

            Model: ____________________________                  
                                                                 ✔ Debtor 1 only                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                  Debtor 2 only
            Year:                      ____________
                                                                  Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
            Approximate mileage: ____________                     At least one of the debtors and another
            Other information:
                                                                  Check if this is community property (see               $________________         $________________
                                                                     instructions)



   If you own or have more than one, describe here:
            Make: ____________________________                   Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
    3.2.

            Model: ____________________________                   Debtor 1 only                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                  Debtor 2 only
            Year:                     ____________                                                                        Current value of the      Current value of the
                                                                  Debtor 1 and Debtor 2 only                             entire property?          portion you own?
            Approximate mileage: ____________                     At least one of the debtors and another
            Other information:
                                                                  Check if this is community property (see               $________________         $________________
                                                                     instructions)




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                       ____________________________                           Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
  ____.    Make:
           Model: ____________________________                                 Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                               Debtor 2 only
           Year:                             ____________
                                                                               Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
                                                                                                                                                        entire property?                 portion you own?
           Approximate mileage: ____________                                   At least one of the debtors and another
           Other information:
                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




                                                                              Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
 ____      Make: ____________________________
           Model: ____________________________                                 Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                               Debtor 2 only
           Year:                             ____________
                                                                               Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
                                                                                                                                                        entire property?                 portion you own?
           Approximate mileage: ____________                                   At least one of the debtors and another
           Other information:
                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   ✔    No
       Yes


                                                                             Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.     Make:       ____________________________

            Model: ____________________________                               Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                              Debtor 2 only
            Year:       ____________
                                                                              Debtor 1 and Debtor 2 only                                               Current value of the             Current value of the
            Other information:                                                At least one of the debtors and another                                  entire property?                 portion you own?

                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)



   If you own or have more than one, list here:
                                                                             Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.     Make:       ____________________________

            Model: ____________________________                               Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                              Debtor 2 only
            Year:       ____________                                                                                                                    Current value of the             Current value of the
                                                                              Debtor 1 and Debtor 2 only                                               entire property?                 portion you own?
            Other information:                                                At least one of the debtors and another
                                                                                                                                                        $________________                $________________
                                                                               Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                      0.00
                                                                                                                                                                                        $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................




                                                                                                                                                                                                   3      10
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Pa rt 3 :      De sc ribe Y our Pe rsona l a nd H ouse hold It e m s

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
6. Household goods and furnishings                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
   Examples: Major appliances, furniture, linens, china, kitchenware
   
   ✔    No
       Yes. Describe. ........

                                                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

7. Electronics

   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
    No                     Bose headphones
   
   ✔ Yes. Describe. ........                                                                                                                                                                          90.00
                                                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   
   ✔ No

    Yes. Describe. .........                                                                                                                                                                         0.00
                                                                                                                                                                                                    $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
    No                   12 year old Canon camera; not working
   
   ✔    Yes. Describe. .........                                                                                                                                                                      25.00
                                                                                                                                                                                                    $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   
   ✔ No

    Yes. Describe. .........                                                                                                                                                                        0.00
                                                                                                                                                                                                    $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No                   Misc. apparel
   
   ✔    Yes. Describe. .........                                                                                                                                                                      200.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
       No                       10 year old watch
   
   ✔    Yes. Describe. .........                                                                                                                                                                      100.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   ✔    No
       Yes. Describe. .........                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   ✔    No
       Yes. Give specific                                                                                                                                                                            0.00
                                                                                                                                                                                                    $___________________
        information...............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                        415.00
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 


                                                                                                                                                                                                                    4      10
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Pa rt 4 :     De sc ribe Y our Fina nc ia l Asse t s

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                        Current value of the
                                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                                   or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

      No
   
   ✔   Yes .....................................................................................................................................................................   Cash: .......................      100.00
                                                                                                                                                                                                                    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   ✔   Yes .....................                 Institution name:


   17.1. Checking account:
                                                 Citi - interest if any in Rita McKenzie account (co-signor)                          5,000.00
                                                 ___________________________________________________________________________________ $__________________
                                                 Bank of America                                                                      2,000.00
   17.2. Checking account:                       ___________________________________________________________________________________ $__________________

   17.3. Savings account:                        ___________________________________________________________________________________ $__________________

   17.4. Savings account:                        ___________________________________________________________________________________ $__________________

   17.5. Certificates of deposit: ___________________________________________________________________________________                                                                                               $__________________
   17.6. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.7. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.8. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.9. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   
   ✔   No
      Yes ..................
   Institution or issuer name:
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________                                                                                              $__________________
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________                                                                                              $__________________



19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture
    No
   
   ✔ Yes. Give specific
       information about                                                                                                                                                                                            $__________________
       them. ........................
                                                                                                                                                                                                                    $__________________
  Name of entity:                                                                                                                                                                         % of ownership:
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                     Unknown
   The Stander Group, Inc.
  _____________________________________________________________________________________________________                                                                                       100
                                                                                                                                                                                              ___________%
                                                                                                                                                                                                                    $__________________
  _____________________________________________________________________________________________________                                                                                       ___________%

  _____________________________________________________________________________________________________                                                                                       ___________%          $__________________


                                                                                                                                                                                                                                         10
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20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    
    ✔ No

     Yes. Give specific
         information about
         them. ......................
    Issuer name:

    ___________________________________________________________________________________________________________________
                                                                                                                                       $__________________

    ___________________________________________________________________________________________________________________ $__________________

    ________________________________________________________________________________________________________________ $__________________

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
   ✔ No

    Yes. List each
         account separately.                Institution name:
         Type of account:

 401(k) or similar plan:           _________________________________________________________________________________________________   $__________________
                                                                                                                                       $__________________
 Pension plan:                     _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

 IRA:                              _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________
 Retirement account:               _________________________________________________________________________________________________   $___________________
                                                                                                                                       $_________________
 Keogh:                            _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

 Additional account:               _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________
 Additional account:               _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

    
    ✔    No
        Yes ...........................    Institution name or individual:

Electric:                  ____________________________________________________________________________________________________
                                                                                                                                       $___________________

Gas:                       ____________________________________________________________________________________________________        $___________________
                                                                                                                                       $___________________

Heating oil:               _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Rental unit:               ____________________________________________________________________________________________________        $___________________
                                                                                                                                       $___________________

Prepaid rent:              _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Telephone:                 _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Water:                     _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Rented furniture:        ______________________________________________________________________________________________________ $___________________
                                                                                                                                $___________________

Other:                   ___________________________________________________________________________________________________ $___________________
                                                                                                                             $___________________

                                                                                                                                       $__________________
                                                                                                                                       _
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

    
    ✔    No
        Yes ...........................   Issuer name and description:
_____________________________________________________________________________________________________________________                  $__________________

_____________________________________________________________________________________________________________________                  $__________________
_____________________________________________________________________________________________________________________                  $__________________
                                                                                                                                       $__________________
                                                                                                                                       $__________________
                                                                                                                                                          10
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24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   ✔   No
      Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

   ____________________________________________________________________________________________________________________                                 $_________________
   ____________________________________________________________________________________________________________________                                 $_________________
   ____________________________________________________________________________________________________________________                                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   ✔   No
      Yes. Give specific information                                                                                         Federal:               0.00
                                                                                                                                                    $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                 0.00
                                                                                                                                                    $_________________
            and the tax years. ......................                                                                                                0.00
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   ✔   No
      Yes. Give specific information. .............
                                                                                                                             Alimony:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Maintenance:                0.00
                                                                                                                                                        $________________
                                                                                                                             Support:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Divorce settlement:         0.00
                                                                                                                                                        $________________
                                                                                                                             Property settlement:        0.00
                                                                                                                                                        $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   ✔   No
      Yes. Give specific information. ...............
                                                                                                                                                          0.00
                                                                                                                                                        $______________________



                                                                                                                                                                       7     10
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31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   ✔    No
       Yes. Name the insurance company             Company name:                                                                                Beneficiary:                                        Surrender or refund value:
             of each policy and list its value. ...
      ____________________________________________________________________________                                                             ____________________________                          $__________________
      ____________________________________________________________________________                                                             ____________________________                          $__________________
      ____________________________________________________________________________                                                               ___________________________                         $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   ✔    No
       Yes. Give specific information. .............
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   ✔    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   ✔    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   ✔    No
       Yes. Give specific information. ...........                                                                                                                                                   0.00
                                                                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       7,100.00
                                                                                                                                                                                                     $_____________________




Pa rt 5 :        De sc ribe Any Busine ss-Re la t e d Prope rt y Y ou Ow n or H a ve a n I nt e re st I n. List a ny re a l e st a t e in Pa rt 1 .

37. Do you own or have any legal or equitable interest in any business-related property?

   
   ✔    No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned

       No
       Yes. Describe .......
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       No
       Yes. Describe .......                                                                                                                                                                      $_____________________



                                                                                                                                                                                                                         10
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40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       No
       Yes. Describe .......
                                                                                                                                                                                                   $_____________________


41. Inventory
       No
       Yes. Describe .......                                                                                                                                                                      $_____________________


42. Interests in partnerships or joint ventures

       No
       Yes. Describe ....... Name of entity:                                                                                                                         % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________


43. Customer lists, mailing lists, or other compilations
       No
       Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                     No
                     Yes. Describe.........
                                                                                                                                                                                                   $____________________


44. Any business-related property you did not already list
       No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                      0.00
                                                                                                                                                                                                   $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Pa rt 6 :        De sc ribe Any Fa rm - a nd Com m e rc ia l Fishing-Re la t e d Prope rt y You Ow n or H a ve a n I nt e re st In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   ✔    No. Go to Part 7.
       Yes. Go to line 47.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
       No
       Yes ...........................

                                                                                                                                                                                                     $___________________



                                                                                                                                                                                                                        10
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48. Crops—either growing or harvested

          No
          Yes. Give specific
           information. ............                                                                                                                                                                           $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
          No
          Yes ...........................
                                                                                                                                                                                                               $___________________

50. Farm and fishing supplies, chemicals, and feed

          No
          Yes ...........................
                                                                                                                                                                                                               $___________________

51. Any farm- and commercial fishing-related property you did not already list
          No
          Yes. Give specific
           information. ............                                                                                                                                                                           $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                  0.00
                                                                                                                                                                                                               $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Pa rt 7 :           De sc ribe All Prope rt y Y ou Ow n or H a ve a n I nt e re st in T ha t Y ou Did N ot List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     ✔     No
          Yes. Give specific
           information. ............




54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................... 
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                                 $________________




Pa rt 8 :           List t he T ot a ls of Ea c h Pa rt of t his Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................
                                                                                                                                                                                                                0.00
                                                                                                                                                                                                               $________________

56. Part 2: Total vehicles, line 5                                                                                    0.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               415.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           7,100.00
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                               0.00
                                                                                                                + $________________
62. Total personal property. Add lines 56 through 61. ...................                                             7,515.00
                                                                                                                     $________________ Copy personal property total                                              7,515.00
                                                                                                                                                                                                              + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                       7,515.00
                                                                                                                                                                                                               $_________________



                                                                                                                                                                                                                                  10
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 Fill in this information to identify your case:

                     Marshall Scott Stander
 Debtor 1          __________________________________________________________________
                     First Name                  Middle Name                Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                  Middle Name                Last Name


                                         ______________________
 United States Bankruptcy Court for the: Central District of California District of __________
                                                                                         (State)
 Case number
  (If known)
                      1:19-bk-13099-MT
                     ___________________________________________                                                                                        Check if this is an
                                                                                                                                                           amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                                  4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions.                     11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on            Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                    portion you own                           exemption you claim

                                                                Copy the value from                       Check only one box
                                                                Schedule A/B                              for each exemption
                 Electronics - Bose headphones                                                                                           Cal. Civ. Proc. Code § 703.140 (b)(3)
 Brief
 description:
                                                                        90.00
                                                                       $________________              90.00
                                                                                                   ✔ $ ____________

                                                                                                     100% of fair market value, up to
 Line from                                                                                              any applicable statutory limit
 Schedule A/B:         7
                 Sports and hobby equipment - 12 year old Canon                                                                          Cal. Civ. Proc. Code § 703.140 (b)(5)
 Brief           camera; not working
 description:
                                                                         25.00
                                                                       $________________            $ ____________
                                                                                                    ✔  25.00
                                                                                                     100% of fair market value, up to
 Line from                                                                                              any applicable statutory limit
 Schedule A/B:          9
                 Clothing - Misc. apparel                                                                                                Cal. Civ. Proc. Code § 703.140 (b)(3)
 Brief
 description:
                                                                         200.00
                                                                       $________________              200.00
                                                                                                   ✔ $ ____________

                                                                                                     100% of fair market value, up to
 Line from                                                                                              any applicable statutory limit
 Schedule A/B:           11

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                              Schedule C: The Property You Claim as Exempt                                                               2
                                                                                                                                                                 page 1 of __
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Debtor          Marshall Scott Stander Main Document
               _______________________________________________________
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                                                                                   number (if known)_____________________________________
                First Name      Middle Name            Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                      Amount of the                       Specific laws that allow exemption
                                                                             Current value of the   exemption you claim
         on Schedule A/B that lists this property                            portion you own
                                                                            Copy the value from    Check only one box
                                                                             Schedule A/B           for each exemption
               Jewelry - 10 year old watch                                                                                               Cal. Civ. Proc. Code § 703.140 (b)(4)
Brief
description:
                                                                              100.00
                                                                             $________________         100.00
                                                                                                    ✔ $ ____________

                                                                                                     100% of fair market value, up to
Line from                                                                                              any applicable statutory limit
Schedule A/B:         12
               Cash (Cash On Hand)                                                                                                       Cal. Civ. Proc. Code § 703.140 (b)(5)
Brief
description:                                                                 $________________
                                                                              100.00                
                                                                                                    ✔ $ ____________
                                                                                                        100.00
                                                                                                     100% of fair market value, up to
                                                                                                       any applicable statutory limit
Line from
Schedule A/B:            16
               Citi - interest if any in Rita McKenzie account (co-signor)                                                               Cal. Civ. Proc. Code § 703.140 (b)(5)
Brief          (Checking)
description:                                                                 $________________
                                                                              5,000.00              
                                                                                                    ✔ $ ____________
                                                                                                        5,000.00
                                                                                                     100% of fair market value, up to
Line from                                                                                              any applicable statutory limit
Schedule A/B:         17.1
               Bank of America (Checking)                                                                                                Cal. Civ. Proc. Code § 703.140 (b)(5)
Brief
description:
                                                                              2,000.00
                                                                             $________________         2,000.00
                                                                                                    ✔ $ ____________

                                                                                                     100% of fair market value, up to
Line from                                                                                              any applicable statutory limit
Schedule A/B:         17.2
               The Stander Group, Inc.                                                                                                   Cal. Civ. Proc. Code § 703.140 (b)(5)
Brief
description:
                                                                              Unknown
                                                                             $________________       $ ____________
                                                                                                    
                                                                                                    ✔ 100% of fair market value, up to

Line from                                                                                              any applicable statutory limit
Schedule A/B:           19

Brief
description:                                                                 $________________       $ ____________
                                                                                                     100% of fair market value, up to
Line from                                                                                              any applicable statutory limit
Schedule A/B:
Brief
description:                                                                 $________________       $ ____________
                                                                                                     100% of fair market value, up to
Line from                                                                                              any applicable statutory limit
Schedule A/B:
Brief
description:                                                                 $________________       $ ____________
                                                                                                     100% of fair market value, up to
                                                                                                       any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                                 $________________       $ ____________
                                                                                                     100% of fair market value, up to
Line from                                                                                              any applicable statutory limit
Schedule A/B:
Brief
description:                                                                 $________________       $ ____________
                                                                                                     100% of fair market value, up to
Line from                                                                                              any applicable statutory limit
Schedule A/B:
Brief
description:                                                                 $________________       $ ____________
                                                                                                     100% of fair market value, up to
                                                                                                       any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                                 $________________       $ ____________
                                                                                                     100% of fair market value, up to
Line from                                                                                              any applicable statutory limit
Schedule A/B:


 Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                                        2
                                                                                                                                                          page ___ of __ 2
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 Fill in this information to identify your case:

                     Marshall Scott Stander
 Debtor 1           __________________________________________________________________
                     First Name                   Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                  Last Name


                                         ______________________
 United States Bankruptcy Court for the: Central District of California District of __________
                                                                                           (State)
 Case number         ___________________________________________
                      1:19-bk-13099-MT
 (If known)                                                                                                                                             Check if this is an
                                                                                                                                                           amended filing


Official Form 106D
Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
      
      ✔      No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below.


Pa rt 1 :        List All Se c ure d Cla im s
                                                                                                                           Column A             Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                         Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the                      that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditor’s name.          value of collateral.                   claim                 If any

2.1                                                        Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

      ______________________________________               As of the date you file, the claim is: Check all that apply.

      ______________________________________
                                                               Contingent
      City                          State   ZIP Code           Unliquidated
  Who owes the debt? Check one.                                Disputed
       Debtor 1 only                                      Nature of lien. Check all that apply.
       Debtor 2 only
                                                               An agreement you made (such as mortgage or secured
       Debtor 1 and Debtor 2 only                              car loan)
       At least one of the debtors and another                Statutory lien (such as tax lien, mechanic’s lien)

    Check if this claim relates to a
                                                               Judgment lien from a lawsuit
     community debt                                            Other (including a right to offset) ____________________
  Date debt was incurred ____________                      Last 4 digits of account number
2.2                                                        Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

      ______________________________________
                                                           As of the date you file, the claim is: Check all that apply.
      ______________________________________                   Contingent
      City                          State   ZIP Code           Unliquidated
  Who owes the debt? Check one.                                Disputed
       Debtor 1 only                                      Nature of lien. Check all that apply.
       Debtor 2 only
                                                               An agreement you made (such as mortgage or secured
       Debtor 1 and Debtor 2 only                              car loan)
       At least one of the debtors and another                Statutory lien (such as tax lien, mechanic’s lien)

    Check if this claim relates to a                          Judgment lien from a lawsuit
     community debt                                            Other (including a right to offset) ____________________
  Date debt was incurred ____________                      Last 4 digits of account number
      Add the dollar value of your entries in Column A on this page. Write that number here:                                 0.00
                                                                                                                           $_________________


   Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of ___
                                                                                                                                                                        1
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Debtor 1
               Marshall Scott Stander
                _______________________________________________________                                                1:19-bk-13099-MT
                                                                                                Case number (if known)_____________________________________
                First Name   Middle Name        Last Name


  Pa rt 2 :     List Ot he rs t o Be N ot ifie d for a De bt T ha t You Alre a dy List e d

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code
                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code


  Official Form 106D                       Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                               page ___
                                                                                                                                                   1 of ___
                                                                                                                                                        1
                    Case 1:19-bk-13099-MT                             Doc 10 Filed 12/27/19 Entered 12/27/19 09:13:49                                        Desc
  Fill in this information to identify your case:                     Main Document    Page 18 of 57
                           Marshall Scott Stander
      Debtor 1           __________________________________________________________________
                          First Name                    Middle Name               Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                    Middle Name               Last Name


      United States Bankruptcy Court for the: ______________________
                                              Central District of California District of __________
                                                                                              (State)
      Case number         ___________________________________________
                            1:19-bk-13099-MT
                                                                                                                                                          Check if this is an
      (If known)                                                                                                                                             amended filing


 Official Form 106E/F
 Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                                          12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Pa rt 1 :             List All of Y our PRIORI T Y Unse c ure d Cla im s

 1. Do any creditors have priority unsecured claims against you?
         
         ✔ No. Go to Part 2.

          Yes.
 2.      List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
         each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
         nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
         unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                         Total claim    Priority     Nonpriority
                                                                                                                                                        amount       amount
2.1
                                                                         Last 4 digits of account number                            $_____________ $___________ $____________
           ____________________________________________
           Priority Creditor’s Name
                                                                         When was the debt incurred?          ____________
           ____________________________________________
           Number            Street
           ____________________________________________                  As of the date you file, the claim is: Check all that apply.
           ____________________________________________                     Contingent
           City                                 State    ZIP Code
                                                                            Unliquidated
           Who incurred the debt? Check one.                                Disputed
                 Debtor 1 only                                          Type of PRIORITY unsecured claim:
                 Debtor 2 only                                             Domestic support obligations
                 Debtor 1 and Debtor 2 only                                Taxes and certain other debts you owe the government
                 At least one of the debtors and another
                                                                            Claims for death or personal injury while you were
                 Check if this claim is for a community debt                intoxicated
                                                                            Other. Specify
           Is the claim subject to offset?
                 No
                 Yes
2.2
                                                                         Last 4 digits of account number                                $_____________ $___________ $____________
            ____________________________________________
            Priority Creditor’s Name                                     When was the debt incurred?          ____________
            ____________________________________________
            Number           Street                                      As of the date you file, the claim is: Check all that apply.
            ____________________________________________                    Contingent
            ____________________________________________                    Unliquidated
            City                                State    ZIP Code
                                                                            Disputed
            Who incurred the debt? Check one.
                  Debtor 1 only                                         Type of PRIORITY unsecured claim:
                  Debtor 2 only                                            Domestic support obligations
                  Debtor 1 and Debtor 2 only                               Taxes and certain other debts you owe the government
                  At least one of the debtors and another
                                                                            Claims for death or personal injury while you were
                  Check if this claim is for a community debt               intoxicated
                                                                            Other. Specify
           Is the claim subject to offset?
                  No
                  Yes

 Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                             page 1 of ___
                                                                                                                                                                         10
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                   Marshall Scott Stander                         Doc 10 Filed 12/27/19 Entered 12/27/19              09:13:49 Desc
                                                                                                                 1:19-bk-13099-MT
 Debtor 1             _______________________________________________________
                      First Name       Middle Name                Main Document
                                                             Last Name             Page 19Case number (if known)_____________________________________
                                                                                           of 57
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

          Carol Fox And Associates                                                                                                                             Total claim
4.1
                                                                                     Last 4 digits of account number
         _____________________________________________________________                                                                                         12,822.43
                                                                                                                                                             $__________________
         Nonpriority Creditor’s Name
                                                                                     When was the debt incurred?           ____________
          c/o Edwin Siegel
         _____________________________________________________________
         Number            Street
          Law Offices of Siegel & Siegel 6355 Topanga Canyon Blvd. Ste 255
         _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Woodland Hills                      CA       91367
         _____________________________________________________________                  Contingent
         City                                             State          ZIP Code
                                                                                        Unliquidated
         Who incurred the debt? Check one.                                           
                                                                                     ✔   Disputed
         
         ✔      Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts

         Is the claim subject to offset?
                                                                                     
                                                                                     ✔   Other. Specify

         
         ✔      No
               Yes
4.2
         Cavalry Portfolio Services LLC                                              Last 4 digits of account number                                          38,169.85
                                                                                                                                                             $__________________
         _____________________________________________________________               When was the debt incurred?           ____________
         Nonpriority Creditor’s Name
         c/o Winn Law Group APC
         _____________________________________________________________
         Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         110 E. Wilshire Ave. Ste. 212
         _______________________________________________________________________
          Fullerton                                       CA
                                                      92832
                                                                                        Contingent
         _____________________________________________________________                  Unliquidated
         City                                             State          ZIP Code
         Who incurred the debt? Check one.                                              Disputed
         
         ✔      Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt
                                                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Judgment - business debt
         Is the claim subject to offset?
         
         ✔      No
               Yes
          Cedars Sinai Medical Center
4.3
                                                                                     Last 4 digits of account number
         _____________________________________________________________                                                                                        3,215.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         c/o Sequoia Financial Services
         _____________________________________________________________
         Number            Street
         28632 Roadside Drive Ste. 110
         _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Agoura Hills                        CA       91301
         _____________________________________________________________                  Contingent
         City                                             State          ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

         
         ✔      Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts

         Is the claim subject to offset?                                             
                                                                                     ✔   Other. Specify Medical Services

         
         ✔ No

               Yes


      Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
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                  Marshall Scott Stander                         Doc 10 Filed 12/27/19 Entered 12/27/19              09:13:49 Desc
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 Debtor 1            _______________________________________________________
                     First Name       Middle Name                Main Document
                                                            Last Name             Page 20Case number (if known)_____________________________________
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 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                              Total claim
4.4     Cedars Sinai Medical Center
       _____________________________________________________________                Last 4 digits of account number
       Nonpriority Creditor’s Name                                                                                                                            3,209.00
                                                                                                                                                            $__________________
        c/o Sequoia Financial Services                                              When was the debt incurred?           ____________
       _____________________________________________________________
       Number             Street
        28632 Roadside Drive Ste. 110
       _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.
        Agoura Hills                                     CA
       _____________________________________________________________
                                                                        91301
       City                                              State          ZIP Code       Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.
                                                                                       Disputed
       
       ✔       Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                       Student loans
              Debtor 1 and Debtor 2 only
                                                                                       Obligations arising out of a separation agreement or divorce
              At least one of the debtors and another                                  that you did not report as priority claims

              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify Medical Services
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.5     Cedars Sinai Medical Center                                                 Last 4 digits of account number                                          3,204.00
                                                                                                                                                            $__________________
       _____________________________________________________________                When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
        c/o Sequoia Financial Services
       _____________________________________________________________
       Number              Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       28632 Roadside Drive Ste. 110
       _______________________________________________________________________
       Agoura Hills                        CA       91301                              Contingent
       _____________________________________________________________
       City                                              State          ZIP Code       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       ✔       Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                       Student loans

              At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify Medical Services
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.6     Citi Card                                                                   Last 4 digits of account number
        _____________________________________________________________                                                                                        38.00
                                                                                                                                                            $_________________
        Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
        Box 9001037
        _____________________________________________________________
        Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Louisville                          KY       40290-1037
        _____________________________________________________________                  Contingent
        City                                             State           ZIP Code
        Who incurred the debt? Check one.                                              Unliquidated

       
       ✔       Debtor 1 only
                                                                                       Disputed

              Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                              Student loans
              At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    ✔   Other. Specify Credit Card Debt
       
       ✔       No
              Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
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                  Marshall Scott Stander                         Doc 10 Filed 12/27/19 Entered 12/27/19              09:13:49 Desc
                                                                                                                1:19-bk-13099-MT
 Debtor 1            _______________________________________________________
                     First Name       Middle Name                Main Document
                                                            Last Name             Page 21Case number (if known)_____________________________________
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 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                              Total claim
4.7     Cohen Hacker Rothstein & Pearl LLC
       _____________________________________________________________                Last 4 digits of account number
       Nonpriority Creditor’s Name                                                                                                                            Unknown
                                                                                                                                                            $__________________
        Attn: Martin Hacker                                                         When was the debt incurred?           ____________
       _____________________________________________________________
       Number             Street
        2 University Plaza Ste. 501
       _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.
        Hackensack                                       NJ
       _____________________________________________________________
                                                                        07601
       City                                              State          ZIP Code    
                                                                                    ✔   Contingent
                                                                                    
                                                                                    ✔   Unliquidated
       Who incurred the debt? Check one.
                                                                                       Disputed
       
       ✔       Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                       Student loans
              Debtor 1 and Debtor 2 only
                                                                                       Obligations arising out of a separation agreement or divorce
              At least one of the debtors and another                                  that you did not report as priority claims

              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify accounting services
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.8     Credit One                                                                  Last 4 digits of account number                                          411.68
                                                                                                                                                            $__________________
       _____________________________________________________________                When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
        PO Box 98873
       _____________________________________________________________
       Number              Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Las Vegas                           NV       89193-8873                         Contingent
       _____________________________________________________________
       City                                              State          ZIP Code       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       ✔       Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                       Student loans

              At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify Credit Card Debt
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.9     DWTS Productions, LLC                                                       Last 4 digits of account number
        _____________________________________________________________                                                                                        Unknown
                                                                                                                                                            $_________________
        Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
        c/o Rex Hwang
        _____________________________________________________________
        Number             Street
        Glaswer Weil 10250 Constellation Blvd., 19th Fl.                            As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Los Angeles                         CA       90067
        _____________________________________________________________                  Contingent
        City                                             State           ZIP Code
        Who incurred the debt? Check one.                                              Unliquidated

              Debtor 1 only
                                                                                       Disputed

              Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                              Student loans
       
       ✔       At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    ✔   Other. Specify confidential settlement - business debt
       
       ✔       No
              Yes


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 Debtor 1             _______________________________________________________
                      First Name       Middle Name                Main Document
                                                             Last Name             Page 22Case number (if known)_____________________________________
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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                Total claim
4.10 Franchise Tax Board
        _____________________________________________________________                 Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                             Unknown
                                                                                                                                                              $__________________
         Bankruptcy Section, MS: A-340                                                When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street
         P. O. Box 2952
        _______________________________________________________________________
                                                                                      As of the date you file, the claim is: Check all that apply.
         Sacramento                                       CA
        _____________________________________________________________
                                                                         95812-2952
        City                                              State          ZIP Code        Contingent
                                                                                         Unliquidated
        Who incurred the debt? Check one.
                                                                                         Disputed
        
        ✔       Debtor 1 only
                                                                                      Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                         Student loans
               Debtor 1 and Debtor 2 only
                                                                                         Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                   that you did not report as priority claims

               Check if this claim is for a community debt                              Debts to pension or profit-sharing plans, and other similar debts
                                                                                      
                                                                                      ✔   Other. Specify Income Taxes
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.11 Full Throttle Films, Inc.                                                        Last 4 digits of account number                                          38,169.85
                                                                                                                                                              $__________________
        _____________________________________________________________                 When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         c/o Irwin Wittlin, Esq.
        _____________________________________________________________
        Number              Street
                                                                                      As of the date you file, the claim is: Check all that apply.
        15910 Ventura Blvd., 12th Floor
        _______________________________________________________________________
        Encino                              CA       91436                               Contingent
        _____________________________________________________________
        City                                              State           ZIP Code       Unliquidated
        Who incurred the debt? Check one.                                                Disputed
               Debtor 1 only
                                                                                      Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                         Student loans

        
        ✔       At least one of the debtors and another
                                                                                         Obligations arising out of a separation agreement or divorce
                                                                                          that you did not report as priority claims
               Check if this claim is for a community debt                              Debts to pension or profit-sharing plans, and other similar debts
                                                                                      
                                                                                      ✔   Other. Specify judgment - business debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.12     Hotel Fusion and Troy Hammer                                                 Last 4 digits of account number
         _____________________________________________________________                                                                                         5,785.86
                                                                                                                                                              $_________________
         Nonpriority Creditor’s Name                                                  When was the debt incurred?           ____________
         c/o John Markley Esq.
         _____________________________________________________________
         Number             Street
         620 Greystone Terrace                                                        As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Orinda                              CA       94563
         _____________________________________________________________                
                                                                                      ✔   Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                            
                                                                                      ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                      
                                                                                      ✔   Disputed

               Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                               Student loans
               At least one of the debtors and another                                  Obligations arising out of a separation agreement or divorce
                                                                                          that you did not report as priority claims
               Check if this claim is for a community debt                              Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                               
                                                                                      ✔   Other. Specify business related
        
        ✔       No
               Yes


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 Debtor 1             _______________________________________________________
                      First Name       Middle Name                Main Document
                                                             Last Name             Page 23Case number (if known)_____________________________________
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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                Total claim
4.13 Internal Revenue Service
        _____________________________________________________________                 Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                             Unknown
                                                                                                                                                              $__________________
         P.O. Box 7346                                                                When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                      As of the date you file, the claim is: Check all that apply.
         Philadelphia                                     PA
        _____________________________________________________________
                                                                         19101-7346
        City                                              State          ZIP Code        Contingent
                                                                                         Unliquidated
        Who incurred the debt? Check one.
                                                                                         Disputed
        
        ✔       Debtor 1 only
                                                                                      Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                         Student loans
               Debtor 1 and Debtor 2 only
                                                                                         Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                   that you did not report as priority claims

               Check if this claim is for a community debt                              Debts to pension or profit-sharing plans, and other similar debts
                                                                                      
                                                                                      ✔   Other. Specify Income Taxes
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.14 LA Commercial Group Inc.                                                         Last 4 digits of account number                                          3,567.00
                                                                                                                                                              $__________________
        _____________________________________________________________                 When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         dba Continental Commercial Group
        _____________________________________________________________
        Number              Street
                                                                                      As of the date you file, the claim is: Check all that apply.
        c/o Carol Hamilton Esq. 317 So. Brand. Blvd.
        _______________________________________________________________________
        Van Nuys                            CA       91404                            
                                                                                      ✔   Contingent
        _____________________________________________________________
        City                                              State           ZIP Code    
                                                                                      ✔   Unliquidated
        Who incurred the debt? Check one.                                             
                                                                                      ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                      Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                         Student loans

               At least one of the debtors and another
                                                                                         Obligations arising out of a separation agreement or divorce
                                                                                          that you did not report as priority claims
               Check if this claim is for a community debt                              Debts to pension or profit-sharing plans, and other similar debts
                                                                                      
                                                                                      ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.15     Luzato Medical Group                                                         Last 4 digits of account number
         _____________________________________________________________                                                                                         1,225.00
                                                                                                                                                              $_________________
         Nonpriority Creditor’s Name                                                  When was the debt incurred?           ____________
         c/o C Tech Collections
         _____________________________________________________________
         Number             Street
         5505 Nesconset Hwy Ste 200                                                   As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Mount Sinai                         NY       11766
         _____________________________________________________________                   Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                               Unliquidated

        
        ✔       Debtor 1 only
                                                                                         Disputed

               Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                               Student loans
               At least one of the debtors and another                                  Obligations arising out of a separation agreement or divorce
                                                                                          that you did not report as priority claims
               Check if this claim is for a community debt                              Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                               
                                                                                      ✔   Other. Specify Medical Services
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                     page __
                                                                                                                                                                          6 of ___
                                                                                                                                                                               10
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                   Marshall Scott Stander                         Doc 10 Filed 12/27/19 Entered 12/27/19              09:13:49 Desc
                                                                                                                 1:19-bk-13099-MT
 Debtor 1             _______________________________________________________
                      First Name       Middle Name                Main Document
                                                             Last Name             Page 24Case number (if known)_____________________________________
                                                                                           of 57
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.16 Ramona Bowl Music Assoc.
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            Unknown
                                                                                                                                                             $__________________
         c/o Law Offices of Trent Thompson                                           When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street
         152 S. Harvard St.
        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Hemet                                            CA
        _____________________________________________________________
                                                                         92543
        City                                              State          ZIP Code       Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                     
                                                                                     ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify business related
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.17 Rob Kolson Creative Productions, Inc.                                           Last 4 digits of account number                                          354,069.45
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         c/o Lane M. Nussbaum, Nussbaum APC
        _____________________________________________________________
        Number              Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        27489 Agoura Road Ste. 102
        _______________________________________________________________________
        Agoura Hills                        CA       91301                              Contingent
        _____________________________________________________________
        City                                              State          ZIP Code       Unliquidated
        Who incurred the debt? Check one.                                            
                                                                                     ✔   Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

        
        ✔       At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Judgment - Business debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.18     Shel Medical Labs                                                           Last 4 digits of account number
         _____________________________________________________________                                                                                        54.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         c/o Paul Michael Marketing
         _____________________________________________________________
         Number             Street
         159-16 Union Turnpike                                                       As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Flushing                            NY       11366
         _____________________________________________________________                  Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Medical Services
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
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                                                                                                                 1:19-bk-13099-MT
 Debtor 1             _______________________________________________________
                      First Name       Middle Name                Main Document
                                                             Last Name             Page 25Case number (if known)_____________________________________
                                                                                           of 57
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.19 Sherman Oaks Hospital
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            204.00
                                                                                                                                                             $__________________
         c/o CMRE Financial Services                                                 When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street
         3075 E. Imperial Hwy Ste. 200
        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Brea                                             CA
        _____________________________________________________________
                                                                         92821
        City                                              State          ZIP Code       Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Medical Services
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.20 United Overseas Investment LTD                                                  Last 4 digits of account number                                          19,949.46
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         13701 Riverside Drive #310
        _____________________________________________________________
        Number              Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Sherman Oaks                        CA       91423                           
                                                                                     ✔   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code    
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.                                            
                                                                                     ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify business office lease
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.21     Via Mar Productions & Mario Lopez                                           Last 4 digits of account number
         _____________________________________________________________                                                                                        63,756.41
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         c/o Max Sprecher
         _____________________________________________________________
         Number             Street
         5850 Canoga Ave. 4th Floor                                                  As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Woodland Hills                      CA       91367
         _____________________________________________________________                  Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                     
                                                                                     ✔   Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Judgment - business debt
        
        ✔       No
               Yes


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                                                                                                       1:19-bk-13099-MT
Debtor 1        _______________________________________________________
                First Name    Middle Name               Main Document
                                                    Last Name            Page 26Case number (if known)_____________________________________
                                                                                 of 57
Pa rt 3 :     List Ot he rs t o Be N ot ifie d About a De bt T ha t Y ou Alre a dy List e d

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                           Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
     _____________________________________________________
                                                                           Last 4 digits of account number
     _____________________________________________________
     City                                   State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                           Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                              Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                           Claims

     _____________________________________________________                 Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                           Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                              Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                           Claims

     _____________________________________________________                 Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                           Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                              Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                           Claims

     _____________________________________________________                 Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                           Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                              Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                           Claims

     _____________________________________________________                 Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                           Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                              Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                           Claims

     _____________________________________________________                 Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________                 Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street
                                                                                                         Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                 Claims

     _____________________________________________________
     City                                   State               ZIP Code
                                                                           Last 4 digits of account number


  Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              page __
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Debtor 1       _______________________________________________________
               First Name    Middle Name                Main Document
                                                 Last Name               Page 27Case number (if known)_____________________________________
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Pa rt 4 :   Add the Am ount s for Ea c h Type of U nse c ure d Cla im


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                6a. Domestic support obligations                               6a.                         0.00
Total claims                                                                           $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.                         0.00
                                                                                       $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                6c.                         0.00
                                                                                       $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d.
                                                                                     + $_________________________
                                                                                                           0.00


                6e. Total. Add lines 6a through 6d.                            6e.
                                                                                                           0.00
                                                                                       $_________________________



                                                                                       Total claim

                6f. Student loans                                              6f.                          0.00
Total claims                                                                            $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.
                                                                                                            0.00
                                                                                        $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.                          0.00
                                                                                       $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                    6i.   + $_________________________
                                                                                                   547,850.99


                6j. Total. Add lines 6f through 6i.                            6j.
                                                                                                    547,850.99
                                                                                        $_________________________




  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                               page __
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                                                            Main Document    Page 28 of 57
 Fill in this information to identify your case:

                       Marshall Scott Stander
 Debtor               __________________________________________________________________
                       First Name             Middle Name              Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name              Last Name


 United States Bankruptcy Court for the:______________________
                                        Central District of California District of ________
                                                                                   (State)
 Case number            1:19-bk-13099-MT
                       ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      
      ✔    No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                               State what the contract or lease is for


2.1
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code


Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                     1
                                                                                                                                              page 1 of ___
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                                                                     Main Document    Page 29 of 57
 Fill in this information to identify your case:

                     Marshall Scott Stander
 Debtor 1           __________________________________________________________________
                        First Name                    Middle Name                 Last Name

 Debtor 2               ________________________________________________________________
 (Spouse, if filing) First Name                       Middle Name                 Last Name


 United States Bankruptcy Court for the:_______________________
                                         Central District of California District of ________
                                                                                              (State)
 Case number              1:19-bk-13099-MT
                        ____________________________________________
  (If known)
                                                                                                                                                 Check if this is an
                                                                                                                                                   amended filing

Official Form 106H
Sc he dule H : Y our Code bt ors                                                                                                                             12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
      
      ✔    Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
      
      ✔    Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
           
           ✔       No
                  Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                   ______________________________________________________________________
                   Name of your spouse, former spouse, or legal equivalent

                   ______________________________________________________________________
                   Number            Street

                   ______________________________________________________________________
                   City                                             State                       ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                                Column 2: The creditor to whom you owe the debt

                                                                                                              Check all schedules that apply:
3.1       SCOTT STANDER AND ASSOCIATES INC
         ________________________________________________________________________________                        Schedule D, line ______
         Name
          13701 RIVERSIDE DR STE 201                                                                          
                                                                                                              ✔                      4.21
                                                                                                                  Schedule E/F, line ______
         ________________________________________________________________________________
          Street                                                                                                 Schedule G, line ______
          Sherman Oaks                             CA                       91423
         ________________________________________________________________________________
         City                                                          State                       ZIP Code

3.2       SCOTT STANDER AND ASSOCIATES INC
         ________________________________________________________________________________                        Schedule D, line ______
         Name
         13701 RIVERSIDE DR STE 201
         ________________________________________________________________________________
                                                                                                              
                                                                                                              ✔                      4.20
                                                                                                                  Schedule E/F, line ______
          Street                                                                                                 Schedule G, line ______
          Sherman Oaks                             CA                       91423
         ________________________________________________________________________________
         City                                                          State                       ZIP Code

3.3       SCOTT STANDER AND ASSOCIATES INC
         ________________________________________________________________________________                        Schedule D, line ______
         Name
          13701 RIVERSIDE DR STE 201                                                                          
                                                                                                              ✔                       4.17
                                                                                                                  Schedule E/F, line ______
         ________________________________________________________________________________
          Street                                                                                                 Schedule G, line ______
          Sherman Oaks                             CA                       91423
         ________________________________________________________________________________
         City                                                          State                       ZIP Code



Official Form 106H                                                             Schedule H: Your Codebtors                                                       2
                                                                                                                                                     page 1 of ___
              Case 1:19-bk-13099-MT                  Doc 10 Filed 12/27/19 Entered 12/27/19 09:13:49                               Desc
                 Marshall Scott Stander              Main Document    Page 30 of 57
Debtor 1        _______________________________________________________                   Case number (if known)_____________________________________
                First Name    Middle Name       Last Name




                Addit iona l Pa ge t o List M ore Code bt ors

      Column 1: Your codebtor                                                                  Column 2: The creditor to whom you owe the debt

                                                                                                Check all schedules that apply:
3._
  4
       SCOTT STANDER AND ASSOCIATES INC
       ________________________________________________________________________________            Schedule D, line ______
       Name
                                                                                                
                                                                                                ✔                      4.16
                                                                                                    Schedule E/F, line ______
       13701 RIVERSIDE DR STE 201
       ________________________________________________________________________________
       Street                                                                                      Schedule G, line ______
       Sherman Oaks                                   CA                      91423
       ________________________________________________________________________________
       City                                          State                   ZIP Code

3._
  5    SCOTT STANDER AND ASSOCIATES INC
       ________________________________________________________________________________            Schedule D, line ______
       Name
                                                                                                
                                                                                                ✔                      4.8
                                                                                                    Schedule E/F, line ______
       13701 RIVERSIDE DR STE 201
       ________________________________________________________________________________
       Street                                                                                      Schedule G, line ______
       Sherman Oaks                                   CA                      91423
       ________________________________________________________________________________
       City                                          State                   ZIP Code

3._
  6    SCOTT STANDER AND ASSOCIATES INC
       ________________________________________________________________________________            Schedule D, line ______
       Name
                                                                                                
                                                                                                ✔                       4.2
                                                                                                    Schedule E/F, line ______
       13701 RIVERSIDE DR STE 201
       ________________________________________________________________________________
       Street
                                                                                                   Schedule G, line ______
        Sherman Oaks                             CA                       91423
       ________________________________________________________________________________
       City                                          State                   ZIP Code

3._
  7    SCOTT STANDER AND ASSOCIATES INC
       ________________________________________________________________________________            Schedule D, line ______
       Name
                                                                                                
                                                                                                ✔                      4.11
                                                                                                    Schedule E/F, line ______
       13701 RIVERSIDE DR STE 201
       ________________________________________________________________________________
       Street
                                                                                                   Schedule G, line ______
       Sherman Oaks                                   CA                      91423
       ________________________________________________________________________________
       City                                          State                   ZIP Code
3._
  8
       The Stander Group, Inc.
       ________________________________________________________________________________            Schedule D, line ______
       Name
                                                                                                
                                                                                                ✔                       4.9
                                                                                                    Schedule E/F, line ______
       4533 Van Nuys Blvd. #401
       ________________________________________________________________________________
       Street                                                                                      Schedule G, line ______
       Sherman Oaks                                   CA                      91403
       ________________________________________________________________________________
       City                                          State                   ZIP Code

3._
       ________________________________________________________________________________            Schedule D, line ______
       Name
                                                                                                   Schedule E/F, line ______
       ________________________________________________________________________________
       Street
                                                                                                   Schedule G, line ______

       ________________________________________________________________________________
       City                                          State                   ZIP Code

3._
       ________________________________________________________________________________            Schedule D, line ______
       Name
                                                                                                   Schedule E/F, line ______
       ________________________________________________________________________________
       Street                                                                                      Schedule G, line ______

       ________________________________________________________________________________
       City                                          State                   ZIP Code
3._
       ________________________________________________________________________________            Schedule D, line ______
       Name
                                                                                                   Schedule E/F, line ______
       ________________________________________________________________________________
       Street
                                                                                                   Schedule G, line ______

       ________________________________________________________________________________
       City                                          State                   ZIP Code




  Official Form 106H                                         Schedule H: Your Codebtors                                              page ___  2
                                                                                                                                          2 of ___
               Case 1:19-bk-13099-MT                       Doc 10 Filed 12/27/19 Entered 12/27/19 09:13:49                                    Desc
                                                           Main Document    Page 31 of 57
 Fill in this information to identify your case:

                      Marshall Scott Stander
 Debtor 1           ____________________________________________________________________
                     First Name              Middle Name                 Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name              Middle Name                 Last Name


 United States Bankruptcy Court for the: ______________________
                                          Central District of CaliforniaDistrict
                                                                                      tate)
 Case number            1:19-bk-13099-MT
                     ___________________________________________                                          Check if this is:
  (If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter 13
                                                                                                             income as of the following date:
                                                                                                             ________________
Official Form 106I                                                                                           MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                               Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                             ✔ Employed
    information about additional           Employment status                                                                 Employed
    employers.                                                               Not employed                                    Not employed
    Include part-time, seasonal, or
    self-employed work.                                                     President/Talent Agent
                                           Occupation                     __________________________________           __________________________________
    Occupation may include student
    or homemaker, if it applies.                                             The Stander Group, Inc.
                                           Employer’s name                __________________________________            __________________________________


                                           Employer’s address                4533 Van Nuys Blvd. #401
                                                                          _______________________________________     ________________________________________
                                                                           Number Street                               Number    Street

                                                                          _______________________________________     ________________________________________

                                                                         _______________________________________      ________________________________________

                                                                             Sherman Oaks, CA 91403
                                                                          _______________________________________     ________________________________________
                                                                           City            State  ZIP Code              City                State ZIP Code

                                           How long employed there?________________________
                                                                    10 years                                            ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                     For Debtor 1       For Debtor 2 or
                                                                                                                        non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.              2.         200.00
                                                                                                    $___________           $____________

 3. Estimate and list monthly overtime pay.                                                   3.   + $___________
                                                                                                             0.00      +   $____________


 4. Calculate gross income. Add line 2 + line 3.                                              4.         200.00
                                                                                                    $__________            $____________




Official Form 106I                                                    Schedule I: Your Income                                                      page 1
            Case 1:19-bk-13099-MT
             Marshall Scott Stander
                                                                    Doc 10 Filed 12/27/19 Entered 12/27/19 09:13:49 Desc
Debtor 1         _______________________________________________________                                            1:19-bk-13099-MT
                 First Name         Middle Name
                                                                    Main Document
                                                              Last Name
                                                                                     Page 32Case number (if known)_____________________________________
                                                                                             of 57
                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.          200.00
                                                                                                                          $___________            $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.            0.00
                                                                                                                         $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.            0.00
                                                                                                                         $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.            0.00
                                                                                                                         $____________            $_____________
     5d. Required repayments of retirement fund loans                                                            5d.            0.00
                                                                                                                         $____________            $_____________
     5e. Insurance                                                                                               5e.            0.00
                                                                                                                         $____________            $_____________
     5f. Domestic support obligations                                                                            5f.            0.00
                                                                                                                         $____________            $_____________
                                                                                                                                0.00
                                                                                                                         $____________            $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h.    + $____________       +   $_____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.             0.00
                                                                                                                         $____________            $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.          200.00
                                                                                                                         $____________            $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________            $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________            $_____________
     8e. Social Security                                                                                         8e.            0.00
                                                                                                                         $____________            $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                       0.00
                                                                                                                         $____________            $_____________

     8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                         $____________            $_____________

     8h. Other monthly income. Specify: _______________________________
                                         Airbnb income                                                           8h.    + $____________
                                                                                                                               900.00         + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.          900.00
                                                                                                                         $____________            $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                            1,100.00
                                                                                                                         $___________     +       $_____________    =      1,100.00
                                                                                                                                                                        $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                  11. + $_____________
                                                                                                                                                                            0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                           1,100.00
                                                                                                                                                                        $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                        12.
                                                                                                                                                                        Combined
                                                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔    No.
          Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                page 2
               Case 1:19-bk-13099-MT                        Doc 10 Filed 12/27/19 Entered 12/27/19 09:13:49                                       Desc
                                                            Main Document    Page 33 of 57
  Fill in this information to identify your case:

                     Marshall Scott Stander
  Debtor 1          __________________________________________________________________
                      First Name              Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name                 Last Name
                                                                                                               An amended filing
                                          Central District of California
                                                                                                               A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________         District of __________                   expenses as of the following date:
                                                                                      (State)
                       1:19-bk-13099-MT                                                                           ________________
  Case number         ___________________________________________                                                 MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                    No
                    Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                  ✔ No
                                                                                          Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                  Yes. Fill out this information for           Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’
                                                                                                                                                      No
                                                                                           _________________________                ________
   names.                                                                                                                                             Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

3. Do your expenses include
   expenses of people other than
                                               No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                  Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                       0.00
                                                                                                                                      $_____________________
     any rent for the ground or lot.                                                                                          4.

     If not included in line 4:
                                                                                                                                                        0.00
     4a.    Real estate taxes                                                                                                 4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.
                                                                                                                                                        0.00
                                                                                                                                      $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.                      0.00
                                                                                                                                      $_____________________
     4d.    Homeowner’s association or condominium dues                                                                       4d.                      0.00
                                                                                                                                      $_____________________

  Official Form 106J                                             Schedule J: Your Expenses                                                               page 1
               Case 1:19-bk-13099-MT                     Doc 10 Filed 12/27/19 Entered 12/27/19 09:13:49                              Desc
                                                         Main Document    Page 34 of 57
                    Marshall Scott Stander                                                                           1:19-bk-13099-MT
 Debtor 1          _______________________________________________________                   Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                        Your expenses

                                                                                                                       $_____________________
                                                                                                                                        0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                  5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                    6a.    $_____________________
                                                                                                                                        0.00
        6b.   Water, sewer, garbage collection                                                                  6b.    $_____________________
                                                                                                                                        0.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_____________________
                                                                                                                                        0.00
        6d.   Other. Specify: _______________________________________________                                   6d.    $_____________________
                                                                                                                                        0.00
 7. Food and housekeeping supplies                                                                              7.     $_____________________
                                                                                                                                     600.00
 8. Childcare and children’s education costs                                                                    8.     $_____________________
                                                                                                                                        0.00
 9. Clothing, laundry, and dry cleaning                                                                         9.     $_____________________
                                                                                                                                        0.00
10.    Personal care products and services                                                                      10.    $_____________________
                                                                                                                                        0.00
11.    Medical and dental expenses                                                                              11.    $_____________________
                                                                                                                                        0.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                       $_____________________
                                                                                                                                     100.00
       Do not include car payments.                                                                             12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.    $_____________________
                                                                                                                                     100.00
14.     Charitable contributions and religious donations                                                        14.    $_____________________
                                                                                                                                        0.00
                                                                                                                                                      1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                     15a.                    0.00
                                                                                                                       $_____________________
        15b. Health insurance                                                                                   15b.   $_____________________
                                                                                                                                        0.00
        15c. Vehicle insurance                                                                                  15c.   $_____________________
                                                                                                                                        0.00
        15d. Other insurance. Specify:_______________________________________                                   15d.   $_____________________
                                                                                                                                        0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                       16.
                                                                                                                                       0.00
                                                                                                                       $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                         17a.   $_____________________
                                                                                                                                        0.00
        17b. Car payments for Vehicle 2                                                                         17b.   $_____________________
                                                                                                                                        0.00
        17c. Other. Specify:_______________________________________________                                     17c.   $_____________________
                                                                                                                                        0.00
        17d. Other. Specify:_______________________________________________                                     17d.                    0.00
                                                                                                                       $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.                    0.00
                                                                                                                       $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                           19.
                                                                                                                                        0.00
                                                                                                                       $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                        20a.   $_____________________
                                                                                                                                        0.00
        20b. Real estate taxes                                                                                  20b.   $_____________________
                                                                                                                                        0.00
        20c. Property, homeowner’s, or renter’s insurance                                                       20c.   $_____________________
                                                                                                                                        0.00
        20d. Maintenance, repair, and upkeep expenses                                                           20d.   $_____________________
                                                                                                                                        0.00
        20e. Homeowner’s association or condominium dues                                                        20e.   $_____________________
                                                                                                                                        0.00


      Official Form 106J                                         Schedule J: Your Expenses                                                   page 2
              Case 1:19-bk-13099-MT                     Doc 10 Filed 12/27/19 Entered 12/27/19 09:13:49                                  Desc
                                                        Main Document    Page 35 of 57
                   Marshall Scott Stander                                                                               1:19-bk-13099-MT
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________
                        Gym
                                                                                                                                         30.00
                                                                                                                   21.   +$_____________________
Airbnb upkeep expenses
______________________________________________________________________________________                                                  250.00
                                                                                                                         +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 1,080.00
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 1,080.00
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                       1,100.00
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 1,080.00
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                     20.00
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
         Yes.      Explain here:




      Official Form 106J                                       Schedule J: Your Expenses                                                        page 3
Case 1:19-bk-13099-MT   Doc 10 Filed 12/27/19 Entered 12/27/19 09:13:49   Desc
                        Main Document    Page 36 of 57
               Case 1:19-bk-13099-MT                        Doc 10 Filed 12/27/19 Entered 12/27/19 09:13:49                                    Desc
                                                            Main Document    Page 37 of 57
 Fill in this information to identify your case:

 Debtor 1          Marshall Scott Stander
                   __________________________________________________________________
                     First Name               Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name                  Last Name


 United States Bankruptcy Court for the: Central
                                          ______________________
                                                 District of California District of ______________
                                                                                 (State)
 Case number         ___________________________________________
                       1:19-bk-13099-MT
  (If known)                                                                                                                                 Check if this is an
                                                                                                                                               amended filing




Official Form 107
St a t e m e nt of Fina nc ia l Affa irs for I ndividua ls Filing for Ba nk rupt c y                                                                              4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Pa rt 1 :       Give De t a ils About Y our M a rit a l St a t us a nd Whe re Y ou Live d Be fore


 1. What is your current marital status?


       Married
      
      ✔ Not married



 2. During the last 3 years, have you lived anywhere other than where you live now?

     
     ✔     No
          Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                            Dates Debtor 1         Debtor 2:                                             Dates Debtor 2
                                                                    lived there                                                                  lived there

                                                                                            Same as Debtor 1                                      Same as Debtor 1

               __________________________________________           From     ________         ___________________________________________           From ________
                Number    Street                                                              Number Street
                                                                    To       __________                                                             To      ________
               __________________________________________                                     ___________________________________________

               __________________________________________                                     ___________________________________________
               City                     State ZIP Code                                        City                     State ZIP Code


                                                                                            Same as Debtor 1                                      Same as Debtor 1


               __________________________________________           From     ________         ___________________________________________           From ________
                Number    Street                                                              Number Street
                                                                    To       ________                                                               To      ________
               __________________________________________                                     ___________________________________________

               __________________________________________                                     ___________________________________________
               City                     State ZIP Code                                        City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
     
     ✔     No
          Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 1
            Case 1:19-bk-13099-MT                            Doc 10 Filed 12/27/19 Entered 12/27/19 09:13:49                                          Desc
                                                             Main Document    Page 38 of 57
Debtor 1        Marshall Scott Stander
                _______________________________________________________                                                             1:19-bk-13099-MT
                                                                                                             Case number (if known)_____________________________________
                First Name      Middle Name             Last Name


  Pa rt 2 : Ex pla in t he Sourc e s of Y our I nc om e

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

          No
     
     ✔     Yes. Fill in the details.

                                                                Debtor 1                                              Debtor 2

                                                                Sources of income            Gross income             Sources of income           Gross income
                                                                Check all that apply.        (before deductions and   Check all that apply.       (before deductions and
                                                                                             exclusions)                                          exclusions)


            From January 1 of current year until
                                                                
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                    bonuses, tips            $________________
                                                                                              13,000.00                   bonuses, tips           $________________
            the date you filed for bankruptcy:
                                                                   Operating a business                                 Operating a business


            For last calendar year:
                                                                
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                    bonuses, tips            $________________
                                                                                              7,902.00                    bonuses, tips           $________________
            (January 1 to December 31, _________)
                                       2018                        Operating a business                                 Operating a business
                                              YYYY



            For the calendar year before that:                  
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                    bonuses, tips                                         bonuses, tips
                                                                                             $________________
                                                                                              0.00                                                $________________
            (January 1 to December 31, _________)
                                       2017                        Operating a business                                 Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     
     ✔     No
          Yes. Fill in the details.

                                                     Debtor 1                                                          Debtor 2

                                                     Sources of income             Gross income from                   Sources of income          Gross income from
                                                     Describe below.               each source                         Describe below.            each source
                                                                                   (before deductions and                                         (before deductions and
                                                                                   exclusions)                                                    exclusions)


                                        _________________________                  $________________          _________________________          $________________
 From January 1 of current
 year until the date you                _________________________                  $________________          _________________________          $________________
 filed for bankruptcy:
                                        _________________________                  $_________________         _________________________          $_________________


                                         _________________________ $________________                           _________________________         $________________
For last calendar year:
                                         _________________________ $________________                           _________________________         $________________
(January 1 to
                                         _________________________ $_________________                          _________________________         $_________________
December 31, _________)


For the calendar year                    _________________________ $________________                           _________________________         $________________
before that:                             _________________________ $________________                           _________________________         $________________
(January 1 to                            _________________________ $_________________                          _________________________         $_________________
December 31, _________)




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Debtor 1       Marshall Scott Stander
               _______________________________________________________                                                    1:19-bk-13099-MT
                                                                                                   Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Pa rt 3 :    List Ce rt a in Pa ym e nt s Y ou M a de Be fore Y ou File d for Ba nk rupt c y



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

     
     ✔     No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               
               ✔    No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

          Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________           _________
                      Number    Street                                                                                                   Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ______________


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________           _________                                                           Credit card
                      Number    Street
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________                                                                               Other ______________
                      City                    State       ZIP Code




                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________           _________                                                           Credit card
                      Number    Street
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________                                                                               Other _______________
                      City                    State       ZIP Code




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Debtor 1            Marshall Scott Stander
                   _______________________________________________________                            Case number (if known)1:19-bk-13099-MT
                                                                                                                            _____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     ✔     No
          Yes. List all payments to an insider.
                                                                        Dates of      Total amount      Amount you still   Reason for this payment
                                                                        payment       paid              owe


            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________              _________      $____________ $____________
            Insider’s Name

            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     ✔     No
          Yes. List all payments that benefited an insider.
                                                                       Dates of        Total amount     Amount you still   Reason for this payment
                                                                       payment         paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



                                                                                     $____________ $____________
            ____________________________________________              _________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




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                  _______________________________________________________                                                               1:19-bk-13099-MT
                                                                                                                 Case number (if known)_____________________________________
                  First Name            Middle Name            Last Name




  Pa rt 4 :       I de nt ify Le ga l Ac t ions, Re posse ssions, a nd Fore c losure s

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

          No
     
     ✔     Yes. Fill in the details.
                                                                      Nature of the case                   Court or agency                                 Status of the case
                  Rob Kolson Creative Productions,                  civil
    Case title:                                                                                            US District Court - Central Dist. of CA
                  Inc. v. Stander et al.                                                                  ________________________________________
                                                                                                          Court Name
                                                                                                                                                          
                                                                                                                                                          ✔   Pending

                                                                                                                                                             On appeal
                                                                                                          255 E. Temple Street
                                                                                                          ________________________________________
                                                                                                          Number    Street                                   Concluded

                                                                                                           Los Angeles       CA     90012
                                                                                                          ________________________________________
                                                                                                          City                   State   ZIP Code
    Case number CV-18-6789-VAP  (GJSx)
                ________________________


                                                                                                          ________________________________________           Pending
                                                                                                          Court Name
    Case title:
                                                                                                                                                             On appeal
                                                                                                          ________________________________________
                                                                                                          Number    Street                                   Concluded


                                                                                                          ________________________________________
                                                                                                          City                   State   ZIP Code
    Case number ________________________

 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     
     ✔     No. Go to line 11.
          Yes. Fill in the information below.

                                                                                Describe the property                                     Date          Value of the property



                   _________________________________________                                                                              __________     $______________
                   Creditor’s Name


                   _________________________________________
                   Number      Street                                           Explain what happened

                                                                                    Property was repossessed.
                   _________________________________________
                                                                                    Property was foreclosed.
                                                                                    Property was garnished.
                   _________________________________________
                   City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                                Describe the property                                     Date           Value of the property



                                                                                                                                         __________      $______________
                   _________________________________________
                   Creditor’s Name


                   _________________________________________
                   Number      Street
                                                                                Explain what happened

                   _________________________________________                        Property was repossessed.
                                                                                    Property was foreclosed.
                   _________________________________________                        Property was garnished.
                   City                               State   ZIP Code
                                                                                    Property was attached, seized, or levied.



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                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     ✔     No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     ✔     No
          Yes

 Pa rt 5 :        List Ce rt a in Gift s a nd Cont ribut ions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     ✔     No
          Yes. Fill in the details for each gift.


             Gifts with a total value of more than $600          Describe the gifts                                            Dates you gave        Value
             per person                                                                                                        the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________

           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________


           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


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                                                                                                                Case number (if known)_____________________________________
                    First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     ✔     No
          Yes. Fill in the details for each gift or contribution.

             Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
             that total more than $600                                                                                                   contributed



           _____________________________________                                                                                         _________           $_____________
           Charity’s Name


           _____________________________________                                                                                         _________           $_____________


           _____________________________________
           Number       Street



           _____________________________________
           City            State    ZIP Code




 Pa rt 6 :          List Ce rt a in Losse s


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     ✔    No
          Yes. Fill in the details.

             Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
             the loss occurred                                                                                                                               lost
                                                                    Include the amount that insurance has paid. List pending insurance
                                                                    claims on line 33 of Schedule A/B: Property.


                                                                                                                                         _________           $_____________




 Pa rt 7 :        List Ce rt a in Pa ym e nt s or T ra nsfe rs

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

          No
     
     ✔     Yes. Fill in the details.

                                                                    Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                         transfer was made
             ___________________________________
             Leslie Cohen Law PC
             Person Who Was Paid

             ___________________________________
             506 Santa Monica Blvd., Ste. 200
             Number       Street                                                                                                         _________
                                                                                                                                         11/26/2019          $_____________
                                                                                                                                                               7,500.00

             ___________________________________
                                                                                                                                         _________           $_____________
             ___________________________________
             Santa Monica        CA      90401
             City                       State    ZIP Code


             ____________________________________________
             Email or website address
             The Stander Group, Inc.
             ___________________________________
             Person Who Made the Payment, if Not You



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                                                                                                              Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or       Amount of
                                                                                                                                     transfer was made     payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                     _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     ✔     No
          Yes. Fill in the details.

                                                                    Description and value of any property transferred                Date payment or   Amount of payment
                                                                                                                                     transfer was made
            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                     _________             $____________

            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     
     ✔     No
          Yes. Fill in the details.

                                                                    Description and value of property         Describe any property or payments received      Date transfer
                                                                    transferred                               or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                               _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                              _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

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                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     ✔     No
          Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust




 Pa rt 8 : List Ce rt a in Fina nc ia l Ac c ount s, I nst rum e nt s, Sa fe De posit Box e s, a nd St ora ge U nit s

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     
     ✔     No
          Yes. Fill in the details.

                                                                   Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                        instrument               closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            ____________________________________
            Name of Financial Institution
                                                                       XXXX–___ ___ ___ ___              Checking               _________              $___________
            ____________________________________
            Number       Street
                                                                                                         Savings
            ____________________________________                                                         Money market
            ____________________________________
                                                                                                         Brokerage
            City                       State    ZIP Code                                                 Other__________

            ____________________________________                       XXXX–___ ___ ___ ___              Checking               _________              $___________
            Name of Financial Institution
                                                                                                         Savings
            ____________________________________
            Number       Street                                                                          Money market
            ____________________________________                                                         Brokerage
            ____________________________________                                                         Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     
     ✔  No
          Yes. Fill in the details.
                                                                       Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                                  No
            ____________________________________                  _______________________________________
            Name of Financial Institution                         Name
                                                                                                                                                                  Yes

            ____________________________________                  _______________________________________
            Number       Street                                   Number      Street
            ____________________________________
                                                                  _______________________________________
                                                                  City          State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



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                    _______________________________________________________                                                                     1:19-bk-13099-MT
                                                                                                                         Case number (if known)_____________________________________
                    First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    
    ✔      No
          Yes. Fill in the details.
                                                                     Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                          have it?


             ___________________________________                     _______________________________________                                                                No
             Name of Storage Facility                                Name                                                                                                   Yes
             ___________________________________                     _______________________________________
             Number       Street                                     Number    Street

             ___________________________________                     _______________________________________
                                                                     City State ZIP Code
             ___________________________________
             City                        State     ZIP Code



 Pa rt 9 :            I de nt ify Prope rt y Y ou H old or Cont rol for Som e one Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     
     ✔   No
          Yes. Fill in the details.
                                                                    Where is the property?                                    Describe the property                    Value


             ___________________________________
             Owner’s Name                                                                                                                                              $__________
                                                                   _________________________________________
             ___________________________________                   Number     Street
             Number        Street
                                                                   _________________________________________
             ___________________________________
                                                                   _________________________________________
             ___________________________________                   City                             State     ZIP Code
             City                        State     ZIP Code


 Pa rt 1 0 :          Give De t a ils About Environm e nt a l I nform a t ion

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


     
     ✔     No
          Yes. Fill in the details.
                                                                     Governmental unit                            Environmental law, if you know it                   Date of notice



            ____________________________________                    _______________________________                                                                    _________
            Name of site                                            Governmental unit

            ____________________________________                    _______________________________
            Number       Street                                     Number    Street

                                                                    _______________________________
            ____________________________________                    City                   State   ZIP Code


            ____________________________________
            City                        State     ZIP Code



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                   _______________________________________________________                                                                     1:19-bk-13099-MT
                                                                                                                        Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     
     ✔     No
          Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                     Date of notice


            ____________________________________                  _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                          _________

            ____________________________________                  _______________________________
            Number        Street                                  Number     Street


            ____________________________________                  _______________________________
                                                                  City                  State    ZIP Code
            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     
     ✔     No
          Yes. Fill in the details.
                                                                                                                                                                          Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                          case

           Case title
                                                                    ________________________________                                                                         Pending
                                                                    Court Name
                                                                                                                                                                             On appeal
                                                                    ________________________________
                                                                    Number     Street                                                                                        Concluded


           Case number                                              ________________________________
                                                                    City                        State   ZIP Code



 Pa rt 1 1 :         Give De t a ils About Y our Busine ss or Conne c t ions t o Any Busine ss

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
           
           ✔    An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

          No. None of the above applies. Go to Part 12.
     
     ✔     Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                Employer Identification number
            The Stander Group, Inc.
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name                                          Talent Agency

            4533 Van Nuys Blvd. #401
            ____________________________________                                                                                       EIN: ___
                                                                                                                                             2 ___
                                                                                                                                                 7 – ___
                                                                                                                                                     0 ___
                                                                                                                                                         4 ___
                                                                                                                                                           8 ___
                                                                                                                                                               2 ___
                                                                                                                                                                  1 ___
                                                                                                                                                                     0 ___
                                                                                                                                                                        5
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
            Sherman Oaks        CA     91403                                                                                           From 06/01/2009
                                                                                                                                             _______                To Current
                                                                                                                                                                       _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
                                                                                                                                       From     _______                 To _______
            ____________________________________
            City                        State    ZIP Code


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                     page 11
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           (Form 2030) (12/15)                       Doc 10 Filed 12/27/19 Entered 12/27/19 09:13:49                                               Desc
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                                      United States Bankruptcy Court
                                                              Central District of California
                                                __________________________________
     In re   Marshall Scott Stander

                                                                                                             Case No. _______________
                                                                                                                      1:19-bk-13099-MT



    Debtor                                                                                                            7
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

✔   FLAT FEE
                                                                                                                          (inc. filing fee)
                                                                                                                         7,500.00
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                 7,500.00
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                   0.00
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

     RETAINER
         For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________

         The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
         [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
         approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)        The Stander Group, Inc.


    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at one meeting of creditors;
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     d. [Other provisions as needed]




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
      Adversary proceeding and contested matters
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                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for
           payment to me for representation of the debtor(s) in this bankruptcy proceeding.

       12/27/2019
     _____________________                 /s/ Leslie A. Cohen
                                        _________________________________________
     Date                                    Signature of Attorney
                                         Leslie Cohen Law PC
                                        _________________________________________
                                              ​Name of law firm
                                         506 Santa Monica Blvd.
                                         Suite 200
                                         Santa Monica, CA 90401
                                         3103945900
                                         leslie@lesliecohenlaw.com
              Case 1:19-bk-13099-MT                            Doc 10 Filed 12/27/19 Entered 12/27/19 09:13:49                                        Desc
 Fill in this information to identify your case:
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                                                                                                             Check one box only as directed in this form and in
                                                                                                             Form 122A-1Supp:
 Debtor 1         Marshall  Scott Stander
                  __________________________________________________________________
                     First Name                  Middle Name                   Last Name
                                                                                                             
                                                                                                             ✔   1. There is no presumption of abuse.
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                  Middle Name                  Last Name                         2. The calculation to determine if a presumption of
                                                                                                                    abuse applies will be made under Chapter 7
                                         Central DistrictDistrict
 United States Bankruptcy Court for the: ____________       of California
                                                                  of _______________
                                                                                                                    Means Test Calculation (Official Form 122A–2).
 Case number        1:19-bk-13099-MT
                    ___________________________________________                                                 3. The Means Test does not apply now because of
 (If known)
                                                                                                                    qualified military service but it could apply later.


                                                                                                              Check if this is an amended filing

Official Form 122A─1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

   Part 1:         Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
        
        ✔     Not married. Fill out Column A, lines 2-11.
             Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

             Married and your spouse is NOT filing with you. You and your spouse are:
                   Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                   Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                    under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                    spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
        Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                               Column A             Column B
                                                                                                               Debtor 1             Debtor 2 or
                                                                                                                                    non-filing spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
      (before all payroll deductions).                                                                           $_________           $__________

   3. Alimony and maintenance payments. Do not include payments from a spouse if
      Column B is filled in.                                                                                     $_________           $__________

   4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, including child support. Include regular contributions
      from an unmarried partner, members of your household, your dependents, parents,
      and roommates. Include regular contributions from a spouse only if Column B is not
      filled in. Do not include payments you listed on line 3.                                                   $_________           $__________

   5. Net income from operating a business, profession,
                                                                              Debtor 1     Debtor 2
      or farm
      Gross receipts (before all deductions)                                    $______    $______
        Ordinary and necessary operating expenses                            – $______ – $______
                                                                                                      Copy
        Net monthly income from a business, profession, or farm                 $______    $______ here         $_________           $__________

   6. Net income from rental and other real property                          Debtor 1     Debtor 2
      Gross receipts (before all deductions)                                    $______    $______
        Ordinary and necessary operating expenses                            – $______ – $______
                                                                                                      Copy
        Net monthly income from rental or other real property                   $______    $______ here         $_________           $__________
  7. Interest, dividends, and royalties                                                                          $_________           $__________



Official Form 122A-1                                Chapter 7 Statement of Your Current Monthly Income                                                       page 1
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Debtor 1           Marshall  Scott Stander
                   _______________________________________________________                                                                          1:19-bk-13099-MT
                                                                                                                             Case number (if known)_____________________________________
                   First Name              Middle Name                      Last Name



                                                                                                                                   Column A                    Column B
                                                                                                                                   Debtor 1                    Debtor 2 or
                                                                                                                                                               non-filing spouse

   8. Unemployment compensation                                                                                                      $__________                  $___________
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here: ................................ 
            For you ..................................................................................   $______________
            For your spouse ..................................................................           $______________
   9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled if
      retired under any provision of title 10 other than chapter 61 of that title.                                                   $__________                  $___________
   10. Income from all other sources not listed above. Specify the source and amount.
       Do not include any benefits received under the Social Security Act; payments received
       as a victim of a war crime, a crime against humanity, or international or domestic
       terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
       States Government in connection with a disability, combat-related injury or disability, or
       death of a member of the uniformed services. If necessary, list other sources on a
       separate page and put the total below.
           ______________________________________                                                                                    $_________                   $___________
           ______________________________________                                                                                    $_________                   $___________
           Total amounts from separate pages, if any.                                                                            + $_________                  + $___________
   11. Calculate your total current monthly income. Add lines 2 through 10 for each
       column. Then add the total for Column A to the total for Column B.                                                            $_________
                                                                                                                                                           +      $___________
                                                                                                                                                                                       =   $__________
                                                                                                                                                                                           Total current
                                                                                                                                                                                           monthly income

   Part 2:           Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a.       Copy your total current monthly income from line 11. ..................................................................................... Copy line 11 here         $__________

                  Multiply by 12 (the number of months in a year).                                                                                                                      x 12
       12b.       The result is your annual income for this part of the form.                                                                                                  12b.     $__________

   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household. ................................................................................................. 13.     $__________
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk’s office.


   14. How do the lines compare?


       14a.  Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3. Do NOT fill out or file Official Form 122A-2.



       14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                       Go to Part 3 and fill out Form 122A–2.




Official Form 122A-1                                                 Chapter 7 Statement of Your Current Monthly Income                                                                    page 2
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    Fill in this information to identify your case:           Main Document    Page 55 of 57

    Debtor 1           Marshall Scott Stander
                      __________________________________________________________________
                        First Name              Middle Name               Last Name

    Debtor 2            ________________________________________________________________
    (Spouse, if filing) First Name              Middle Name               Last Name


    United States Bankruptcy Court for the: Central
                                            ______________________
                                                    District of California District of __________

    Case number         1:19-bk-13099-MT
                        ___________________________________________
    (If known)

                                                                                                              Check if this is an amended filing

 Official Form 122A─1Supp
St a t e m e nt of Ex e m pt ion from Pre sum pt ion of Abuse U nde r § 7 0 7 (b)(2 )                                                                           12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this
is required by 11 U.S.C. § 707(b)(2)(C).


Pa rt 1 :        I de nt ify t he K ind of De bt s Y ou H a ve

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an individual primarily for a
   personal, family, or household purpose.” Make sure that your answer is consistent with the answer you gave on line 16 of the Voluntary Petition for
   Individuals Filing for Bankruptcy (Official Form 101).

     
     ✔
          No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit
              this supplement with the signed Form 122A-1.
         Yes. Go to Part 2.

Pa rt 2 :        De t e rm ine Whe t he r M ilit a ry Se rvic e Provisions Apply t o Y ou


2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
    
     ✔ 
       No. Go to line 3.
    Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                  10 U.S.C. § 101(d)(1)); 32 U.S.C. § 901(1).

                  
                  ✔ No. Go to line 3.

                   Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                        Then submit this supplement with the signed Form 122A-1.
3. Are you or have you been a Reservist or member of the National Guard?
     
     ✔      No. Complete Form 122A-1. Do not submit this supplement.
           Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
          
          ✔      No. Complete Form 122A-1. Do not submit this supplement.
                Yes. Check any one of the following categories that applies:

                    I was called to active duty after September 11, 2001, for at least             If you checked one of the categories to the left, go to
                     90 days and remain on active duty.                                             Form 22A-1. On the top of page 1 of Form 22A-1, check
                                                                                                    box 3, The Means Test does not apply now, and sign
                    I was called to active duty after September 11, 2001, for at least
                                                                                                    Part 3. Then submit this supplement with the signed
                     90 days and was released from active duty on _______________,
                                                                                                    Form 22A-1. You are not required to fill out the rest of
                     which is fewer than 540 days before I file this bankruptcy case.
                                                                                                    Official Form 22A-1 during the exclusion period. The
                    I am performing a homeland defense activity for at least 90 days.              exclusion period means the time you are on active duty
                                                                                                    or are performing a homeland defense activity, and for
                    I performed a homeland defense activity for at least 90 days,                  540 days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                     ending on _______________, which is fewer than 540 days before
                                                                                                    If your exclusion period ends before your case is closed,
                     I file this bankruptcy case.
                                                                                                    you may have to file an amended form later.




Official Form 122A-1Supp                          Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                     page 1
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Fill in this information to identify your case:

                  Marshall Scott Stander
Debtor 1          __________________________________________________________________
                    First Name              Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name                Last Name


                                        ______________________
United States Bankruptcy Court for the:Central District of California District of __________
                                                                                   (State)
Case number         ___________________________________________
                     1:19-bk-13099-MT                                                                                                          Check if this is an
 (If known)                                                                                                                                       amended filing



  Official Form 108
  St a t e m e nt of I nt e nt ion for I ndividua ls Filing U nde r Cha pt e r 7                                                                            12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Pa rt 1 :        List Y our Cre dit ors Who H a ve Se c ure d Cla im s

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                    What do you intend to do with the property that   Did you claim the property
                                                                                        secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                                    Surrender the property.                           No
          name:                  N/A
                                                                                        Retain the property and redeem it.                Yes
         Description of
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________


         Creditor’s                                                                     Surrender the property.                           No
         name:
                                                                                        Retain the property and redeem it.                Yes
         Description of
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________

         Creditor’s                                                                     Surrender the property.                           No
         name:
                                                                                        Retain the property and redeem it.                Yes
         Description of
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________

         Creditor’s                                                                     Surrender the property.                           No
         name:
                                                                                        Retain the property and redeem it.                Yes
         Description of
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________


  Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                       page 1
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